                  Case: 1:22-cr-00010-TSB Doc #:STATES
                                        UNITED   10 Filed: 01/27/22COURT
                                                        DISTRICT    Page: 1 of 1 PAGEID #: 92
                                                     SOUTHERN DISTRICT OF OHIO
                                                         WESTERN DIVISION
   UNITED STATES OF AMERICA,
              Plaintiff,
        V.                                                                 Case No. I :22-cr-00010
   D ELOYE KOFI AMUZU
              Defendant.
                                                 CRIMINAL MINUTES before
                                              Magistrate Judge Stephanie K. Bowman
  Courtroom Deputv: Kevin Moser
  Court Reporter: CourtSmart (Session ID #          /g'3 '1 )                   Daterrime: 1/27/22@ I :30 p.m.
  United States Attorney: Julie Garcia
  Defendant Attorney: Karen Savir (FPO)                                         Interpreter:    NI A
  D By telephone        [g) By videoconferencing     [g) Deft@:Joes not consent to proceed
  Initial Appearance:   • Complaint; [&)Indictment; • Information;Opetitionfor supervised releaseORule 5(c)/32.I Proceedings
  C8J Counsel present                  D   Superseding Indictment                                            D   Pretrial Release Violation
  ~ Defendant informed of charges and potential penalties   D Defendant informed of nature of supervised release violation(s)
     ~ Defendant informed of his / her rights ~ Defendant provided copy of charging document D copy provided to counsel (if sealed)
    D Government moves for defendant to be detained pending detention hearing _ _ _ _ _ _ _ _ __
.i,t ~ Financial affidavit presented to the Court/Defendant ~ Defendant informed of right to consulate notification (if applicable)

 !El Counsel appointed ~      FPD   D    CJA)   D  Charging document unsealed upon oral motion of the United States
  1:81' Government informed of requirements offed. R. Crim. P. 5(t)                          D Defendant did not contest detention at this time
  Detention:  •  Defendant to be detained pending trial pursuant to pretrial detention order
  Plaintiff Witness                                                                       •D Detention \s m_oot-active pai:ole/probation detainer
                                                                                                Detention 1s moot - servmg state sentence
  Defendant Witness_ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __ _ _                                             D Home Incarceration
  ~OR D Secured with _ _ _ _ _ _ _ _ _ _ _ _ O Electronic Monitor D Other D Home Detention D Curfew
  81JNP C4N['p /IS Strr1t1r11£S.IJ. /)rNY                        •   Location Monitoring   •  GPS    •  RF   •   Stand Alone
  Special Conditions ofRelease:OPretrial/Probation Supervision0Drug testing & TreatmentOmaintain employment & verify
  • refrain from all/excessive alcohol • narcotic drugs unless prescribed[)ise/possession of firearms • Travel Restricted to
  D no contact with any potential victim or witness, to include co-defendants D     resolve a11 outstanding warrants D Surrender Passport
                                                                       D Do not obtain passport           D Mental Health Eval/Treatment
  Pretrial Bond Violation Hearing:
 D   bond revoked - defendant detained pending trial Obond continued Obond modified: _ _ _ __ __ _ _ __ __ _ __

  Preliminary Exam Hearing set _ __ _ __ _ _ __ _
  Preliminary Exam:OProbable Cause found;0not found; D waived;              •
                                                                  bond continued/denied
  AUSA Witnesses:_ _ _ _ __ _ _ _ _ __           Defendant Witnesses:
                                                                                  -----------
  AUSA Exhibits: _ _ _ _ _ _ _ _ _ _ _ __                    Defendant Exhibits:
                                                                                 ------------
  Arraignment on [&] Indictment        D   Superseding Indictment D Second Superseding Indictment
  Defendant waives reading [&]                                    Defendant pleads: 0     GUILTY [&) NOT GUILTY
  D PSI ordered                                                   • Sentencing set for _ _ _ _ _ _ _ _ _ _ _ _ __
  [&] Case to proceed before JUDGE BLACK

  Removal Hearing (Rule 5c or Rule 32.1):
  D Defendant waives Identity Hearing               D Defendant waives Detention Hearing in this district
  D Defendant waives Preliminary Hearing in this district
  D Commitment to Another District Ordered           D Removed to _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  D   Probable Cause Found                              D    Defendant to voluntarily report to charging district no later than

   Remarks:
